          Case 1:20-cv-01102-ER Document 17 Filed 04/05/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BYRON BREEZE, JR.,

                             Plaintiff,

             v.                                                         ORDER

BLUE MOON HOTEL NYC INC., and BLUE                                   20 Civ. 1102 (ER)
MOON HOTEL LIMITED,

                             Defendants.

RAMOS, D.J.

        On February 7, 2020, Byron Breeze, Jr. brought this action against Blue Moon Hotel

NYC Inc. and Blue Moon Hotel limited (“Defendants”) for violation of the Americans with

Disabilities Act and related claims. Doc. 1. On February 25, 2021, the Clerk issued a certificate

of default against Defendants. Breeze has not yet moved for default judgment. Breeze is

therefore directed to submit a status report regarding the status of the case by April 19, 2021.

       It is SO ORDERED.

Dated: April 5, 2021
       New York, New York

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                                                             Edgardo Ramos, U.S.D.J.
